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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re                                                       Chapter 11

PARAGON OFFSHORE PLC,                                       Bankr. Case No. 16-10386 (CSS)

                      Debtor.


PARAGON LITIGATION TRUST,

                      Plaintiff,

        v.

NOBLE CORPORATION PLC, NOBLE                                Adv. Proc. No. 17-51882 (CSS)
CORPORATION HOLDINGS LTD, NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and
DAVID WILLIAMS,

                      Defendants.

        STIPULATION CONCERNING PLAINTIFF’S MOTION FOR AN ORDER
             COMPELLING DEFENDANTS TO PRODUCE DOCUMENTS
              IMPROPERLY WITHHELD ON PRIVILEGE GROUNDS

        1.    This stipulation (the “Stipulation”) is entered into between plaintiff Paragon

Litigation Trust (the “Plaintiff”) and defendants Noble Corporation plc (“Noble”), Noble

Corporation Holdings Ltd., Noble Corporation, Noble Holding International (Luxembourg)

S.á.r.l., Noble Holding International (Luxembourg NHIL) S.á.r.l., Noble FDR Holdings Limited,

Michael A. Cawley, Julie H. Edwards, Gordon T. Hall, Jon A. Marshall, James A. MacLennan,
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Mary P. Ricciardello, Julie J. Robertson, and David W. Williams (collectively, “Defendants” and

together with Plaintiff, the “Parties”), by and through their respective undersigned counsel.1

                                                    RECITALS

        2.        On August 24, 2018, the Plaintiff filed a Motion for an Order Compelling

Defendants to Produce Documents Improperly Withheld on Privilege Grounds (the “Motion to

Compel”) against Defendants. [A.D.I. 75]

        3.        After discussions, the Parties have reached an agreement to resolve the Motion to

Compel.

        4.        Accordingly, Plaintiff adjourns the Motion to Compel (a) pending Defendants’

timely performance of their obligations under the Stipulation and (b) subject to Plaintiff’s right to

challenge Defendants’ continued withholding of any document sought in the Motion to Compel

in accordance with Paragraph 10 herein.

                                         TERMS OF AGREEMENT

WHEREAS, the Parties have agreed as follows:

        5.        By October 2, 2018, Defendants will produce all documents from the privilege

logs that were created between April 1, 2013 and August 1, 2014 relating to2 the Spin-Off3 or to




1
    In submitting this Stipulation, Defendants do not consent to the entry of final orders or judgments by the Court
    if it is determined that the Court, absent consent of the parties, cannot enter final orders or judgments consistent
    with Article III of the United States Constitution.
2
    “Relating to” or “relate to” means, without limitation, relating to, referring to, describing, evidencing,
    constituting, discussing, supporting, pertaining to, containing, analyzing, evaluating, studying, recording,
    showing, memorializing, reporting on, commenting on, mentioning, reviewed in conjunction with, setting forth,
    contradicting, refuting, considering, or recommending, in whole or in part.
3
    “Spin-Off” means any contemplated or actual event, activity, or process relating to Noble’s separation and spin
    off of standard specification assets to Paragon Offshore, plc (“Paragon”) or any other debtor in In re Paragon
    Offshore PLC, Bankr. Case No. 16-10386 (CSS).



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the Paragon Business.4 Notwithstanding the above, and subject to Paragraphs 6 through 9 below,

Defendants will not produce documents from the privilege logs created between April 1, 2013

and August 1, 2014 that include only a peripheral discussion of the Paragon Business (e.g.,

general discussions of the standard specification business in Noble’s draft SEC disclosures such

as 10-Qs or proxy statements).


           6.        By October 2, 2018, Defendants will produce all documents included on the

privilege logs that were both: (a) created on or after December 13, 2013; and (b) sent or received

by one or more members of the senior leadership team of Paragon and its affiliates, including

without limitation Lee Ahlstrom, Steven Donley, Todd McElreath, Randall Stilley, Todd

Strickler, and Andrew Tietz.

            7.       By October 2, 2018, Defendants will produce all documents included on the

    privilege logs that were both: (a) created between December 13, 2013 and August 1, 2014; and

    (b) sent or received by James MacLennan.

            8.       Defendants will provide amended privilege logs describing the communications

    created between April 1, 2013 and August 1, 2014 that they continue to withhold as privileged.

    The amended descriptions shall indicate the (a) nature of the document communication

    withheld (e.g., email, memorandum), (b) its author/sender and all recipients, (c) the date of the

    communication, (d) the nature of the privilege or other protection being asserted to withhold

    the communication, and (e) a description of the subject matter of the communication sufficient

    to demonstrate that it does not relate to the Spin-Off or to the Paragon Business. Plaintiff


4
       “Paragon Business” means the business, operations, and activities of the standard specification assets that were
       separated and spun off into Paragon Offshore, plc. (“Paragon”) or any other debtor in In re Paragon Offshore
       PLC, Bankr. Case No. 16-10386 (CSS).



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reserves the right to request more detailed descriptions of the communications that Defendants

continue to withhold as privileged, and, if necessary, to move to compel more detailed

descriptions pursuant to Paragraph 9 below.

        9.       Plaintiff reserves its right to challenge the privilege designation of any

communications created between April 1, 2013 and August 1, 2014 that Defendants continue to

withhold. Should Plaintiff decide to challenge the continued withholding of a communication,

the procedure for resolving such challenge shall be as follows:

                 A.     Plaintiff shall advise Defendants of any communications for which it

either demands more detailed descriptions or intends to move to compel their production.

                 B.     Defendants shall have five (5) business days to respond to Plaintiff’s

request for production or more detailed descriptions.

                 C.     Should Defendants decline to provide more detailed descriptions or

produce the challenged communications, or should Defendants’ detailed descriptions not

demonstrate to Plaintiff’s satisfaction that the challenged communications are not relevant,

Plaintiff may file a motion to compel with respect to the challenged communications. Plaintiffs

may request an in camera review of the challenged communications.

                 D.     Defendants shall file any response to the motion to compel within eight (8)

business days.

                 E.     Plaintiff shall file any reply in support of the motion to compel within

three (3) business days.

        10.      Plaintiff agrees that any production of privileged documents that do not relate to

the Spin-Off or the Paragon Business (a) shall be deemed to be inadvertent, (b) is without

prejudice, and (c) will not constitute a waiver of any applicable privilege. Notwithstanding



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Defendants’ assertion of any applicable privilege with respect to any produced document, the

document may be used by Plaintiff in this proceeding until and unless the Court has sustained

Defendants’ assertion of the privilege of the document or documents in question, but Plaintiff

agrees that such use shall not constitute a waiver of any applicable privilege.



                               [SIGNATURE PAGE FOLLOWS]




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Dated: September 25, 2018
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